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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 ROBERT WOMACK,                                   Civil Case No.: 16-1716

                         Plaintiff,
 v.

 VERIZON WIRELESS (VAW) LLC,

                         Defendant.


                      VOLUNTARY DISMISSAL WITH PREJUDICE
       By stipulation of the undersigned, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff
Robert Womack, by and through his counsel, hereby gives notice that the above-captioned action
is dismissed with prejudice, which each party bearing its own costs and attorney’s fees.


 Dated: April 28, 2016                            /s/ Jeremy M. Glapion__________
                                                  Jeremy M. Glapion
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